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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------X
  MARION KILER, Individually and as the
  representative of a class of similarly situated persons,
                                                                   Case No. 1:19-cv-6632-AMD-SMG
                                           Plaintiff,
                            - against -

  SANMEDICA INTERNATIONAL, LLC                                         NOTICE OF SETTLEMENT
  d/b/a Serovital.com,

                                             Defendant.
  -----------------------------------------------------------X

                  Now comes the Plaintiff, Marion Kiler, by and through counsel, to provide notice

 to the Court that the present cause has been settled between the parties, and states:

                  1. The parties have reached an agreement and a settlement agreement

 (“Agreement”) is in the process of being finalized. Once the Agreement is fully executed, and

 Plaintiff has received the consideration required pursuant to the Agreement, the parties will

 submit a Consent Decree for the Court’s consideration and will submit a Notice of Voluntary

 Dismissal with prejudice pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i).

                  2. The parties respectfully request that the Court stay this case and adjourn all

 deadlines and conferences.

                  3. We respectfully request the Court provide that the parties may seek to reopen

 the matter for forty-five (45) days to assure that the terms of the Agreement have been satisfied.

 Dated: Scarsdale, New York
        February 26, 2020
                                                        SHAKED LAW GOUP, P.C.
                                                        Attorneys for Plaintiff

                                                     By: /s/Dan Shaked___________
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